Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 1 of 22 PageID# 86




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

   MARTHA CARRASCAL,                     )
                                         )
            Plaintiff,                   )
   v.                                    ) Civil No. 1:22cv825 (LMB/JFA)
   AMERICAN AIRLINES, INC.,              )
                                         )
                  Defendant.             )

                     AMENDED COMPLAINT AND JURY DEMAND

          COMES NOW your Plaintiff, MARTHA CARRASCAL, by counsel, and for her

   Amended Complaint against the Defendant, AMERICAN AIRLINES, INC., and as

   grounds therefore respectfully represents as follows.

                                       Nature of the Case

          1.      This is an action for money damages arising out of an employment

   relationship, brought by Plaintiff Martha Carrascal, under 42 U.S.C. § 1981, against

   Carrascal’s former employer, American Airlines, Inc., for disparate treatment,

   harassment, disparate discipline, and retaliatory discharge, based upon her race, Hispanic.

                                 Parties, Jurisdiction and Venue

          2.      At the relevant times referenced herein, your Plaintiff, whose full name is

   Martha Magally Alvarez Carrascal, was and is an adult resident of sound mind of

   Virginia, and at all times referenced herein, was and is citizen of the United States of

   America; Plaintiff currently lives in Fairfax, Virginia. At all times referenced herein,

   your Plaintiff was and is a Peruvian-born individual, of Hispanic race, with Amerindian

   racial features, and, relatively speaking, of diminutive and demure stature, manner and

   bearing.




                                                1
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 2 of 22 PageID# 87




          3.      Upon information and belief, at all material times referenced

   herein, defendant AMERICAN AIRLINES, INC., (hereinafter, "American Airlines” or

   “Defendant”) was and is a publicly traded Delaware Stock Corporation, duly authorized

   to transact business in the Commonwealth of Virginia, and in fact transacting substantial

   business in the Commonwealth of Virginia, and Arlington County, as well as in interstate

   commerce, at various commercial locations, including, out Ronald Reagan National

   Airport, in Arlington County, Virginia, as described below.

          4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331, as this

   case arises under a federal statute, 42 U.S.C. § 1981, as amended by the Civil Rights Act

   of 1991; and venue is further proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), as

   upon information and belief, all acts referenced herein took place in and around Arlington

   County, Virginia, and upon information and belief, a substantial portion, if not all, of the

   decisions related to the allegations herein occurred in, and/or related to, Plaintiff’s

   employment by, Defendant, were made in and around Arlington County, Virginia. The

   claims raised herein arise under federal statutory law; pursuant to which this court has

   original subject matter jurisdiction for the claims brought herein.

                                          Operative Facts

          5.      On or about March 14, 2016, your Plaintiff became employed by

   Defendant American Airlines, as a Customer Assistance Representative, for primary

   tasking at the American Airlines facilities located at Reagan National Airport (DCA),

   with a whole host of duties, including, but not limited to, furnishing and ensuring smooth

   arrival and departure processes for customers, greeting customers, checking in customers,

   resolving customer issues and airline inquiries, and also making special provisions for




                                                  2
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 3 of 22 PageID# 88




   military persons and family members of such persons, all at Ronald Reagan National

   Airport, located in Arlington, Virginia.

           6.     During Plaintiff’s employment for Defendant, since 2016, Plaintiff had a

   good work record, and was well-liked by both coworkers and management alike,

   resulting in her continued employment, as well as several raises, and positive

   performance assessments.

           7.     In the one year immediately preceding Plaintiff’s termination from

   Defendant’s employ, she was employed by Defendant on a full-time basis, at an average

   nominal hourly rate, exclusive of other benefits of employment, including, but not limited

   to, health insurance, 401(k) savings, and employee travel pass privileges, of $18.50 per

   hour.

           8.     At all times referenced herein, and to this date, Plaintiff was and is

   qualified and licensed for the position and role she held with Defendant, and Plaintiff

   satisfied the skill, experience and other job-related requirements for the position held by

   her.

           9.     On or about late 2018 to early 2019, Defendant hired into, and/or

   transferred to, National Airport, one Adrienne Joseph-Hawkins, who is believed to be an

   American-born African American (black), as a Manager with supervisory and other

   authority over your Plaintiff.

           10.    From the very inception of Ms. Adrienne Joseph-Hawkins’s tasking at

   Reagan National, she appeared to take a visible dislike to everything about your Plaintiff,

   including her appearance, and height, looking at Carrascal very skeptically, and with

   bodily language and facial expressions showing a visible and palpable dislike of your




                                                3
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 4 of 22 PageID# 89




   Plaintiff, before Carrascal had ever done or said anything, in the presence of Ms.

   Adrienne Joseph-Hawkins, or otherwise made known to her, otherwise looking at your

   Plaintiff very strangely, or over Carrascal's head, and making Carrascal feel

   uncomfortable.

          11.     Manager Adrienne Joseph-Hawkins further expressed and exhibited her

   dislike, not only for Carrascal's physical appearance and bearing, but also her accented

   English, virtually ignoring, dismissing, or not reacting to anything Carrascal had to say,

   or directly addressing Carrascal as to any issue, item or question regarding the work, and

   seemingly looking through her, or looking at a space above and beyond Carrascal's head,

   while talking to Carrascal, with such derisive body language not being directed at any of

   Carrascal's non-Hispanic coworkers.

          12.     On several different occasions, and even when there was no factual or

   practical basis to do so, and as a result of Carrascal's relatively thick Spanish-speaking

   accent, Manager Adrienne Joseph-Hawkins seemingly went out of her way to admonish

   or chide Carrascal, in a loud and booming voice, for things Carrascal was supposedly

   doing wrong, and Joseph-Hawkins made sure to do so in front of customers; but

   Adrienne Joseph-Hawkins did not do this with any of plaintiff’s non-Hispanic coworkers,

   if she counseled any of them at all on the same or similar items, which was rare to non-

   existent. If Adrienne Joseph-Hawkins saw fit to counsel of speak to Carrascal's non-

   Hispanic coworkers, those conversations and communications almost invariably occurred

   behind closed doors in a back office or room somewhere.

          13.     When, as a matter of professionalism, as well as non-harassment,

   Carrascal expressed a preference that Adrienne Joseph-Hawkins please address such




                                                 4
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 5 of 22 PageID# 90




   issues in a back office, and that raising of Adrienne's voice volume would not improve

   Carrascal's understanding of what Adrienne Joseph-Hawkins was saying, Adrienne

   Joseph-Hawkins stated to Carrascal that Carrascal was not allowed to be with her in the

   back office, for any purpose, even though Adrienne Joseph-Hawkins did not do the same

   thing with Carrascal’s non-Latina coworkers. This not only caused needless

   embarrassment to Carrascal, but was also unprofessional.

          14.     When Carrascal confided in a coworker that Adrienne Joseph-Hawkins

   was singling Carrascal out, and going out of her way to raise her voice, chide, and

   embarrass Carrascal in front of coworkers and customers alike, the coworker, another

   Latina Customer Service Agent, who had a substantial amount of experience dealing with

   Adrienne Joseph-Hawkins, and watching Adrienne Joseph-Hawkins, said [referring to

   Adrienne Joseph-Hawkins]: “She doesn’t like Latinas.”

          15.     Shortly after the appearance of Adrienne Joseph-Hawkins, as a Manager at

   DCA, in the Spring of 2019, upon information and belief, Defendant hired one Valeria

   Xavier, who upon information and belief, is a Brazilian-born African American (black)

   individual who identifies as a female, and/or is in the process of becoming biologically

   female, to act as a fellow Customer Service Representative.

          16.     From the very inception of Xavier’s appearance at the work site, and on a

   continuing basis, seeming controversy and problem situations seemed to follow Xavier

   around, at Xavier’s apparent instigation or initiation; for example (i) Xavier made

   repeated accusations to Carrascal and others, seemingly trying to provoke some sort of

   confrontation, that each was “talking about me” [even grabbing Carrascal by the jacket

   while doing so, placing Carrascal in imminent fear of bodily harm, while making this




                                                5
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 6 of 22 PageID# 91




   allegation]; (ii) unprofessionally and publicly, in front of customers, insulting Carrascal,

   calling Carrascal “stupid” and “idiot”; (iii) fighting and arguing with customers and

   coworkers alike, on a repeated basis, often to the point that certain customer matters had

   to be taken up by a different Customer Service Representative.

          17.     After these types of events became repeated, Plaintiff reported them to

   Krystele Louis, a Manager, and Patricia Manning, a Customer Service Supervisor [both

   of whom are believed to also be black persons] wondering why this type of disruption

   and misbehavior was being tolerated by management, and asking that they please do

   something about this, referring to Xavier; both stated to Plaintiff: “she’s very special; I

   can’t tell you anything, but be careful,” or words to that effect. Were it not for the fact

   that Carrascal was and is a Latina or Hispanic person, management would have acted on

   such a complaint, but because of Carrascal's Hispanic race, and attendant accented

   English, her complaint seemingly fell on deaf ears, and not even an investigation, much

   less any disciplinary action, ensued.

          18.     On or about August 3, 2019, Plaintiff was called into a hastily arranged

   meeting with Hayden Nedd, a black Customer Service Manager for DCA, and Adrienne

   Joseph-Hawkins, the said Manager over Carrascal [as above, also black], and was

   informed that Carrascal was being “withheld from service,” or immediate suspended

   without pay [but also having her travel pass privileges suspended then and there], due to

   an “investigation regarding possible violation of the Standards of Attendance and

   Performance Guidelines for Customer Care,” and in particular, the Company’s Work

   Environment Policy, which, upon information and belief, prohibits behavior that is

   threatening, intimidating, interfering with, or abusive, demeaning, or violent behavior




                                                 6
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 7 of 22 PageID# 92




   toward, another team member, contractor, customer or vendor, while either off or on

   duty.

           19.    No further alleged particulars were provided with this notice, but Nedd

   and Adrienne Joseph-Hawkins told Carrascal that the investigation surrounded Carrascal

   supposedly spreading a rumor, and/or [again] talking about Xavier, to the effect that

   “she’s [Xavier] a man,” and that said coworker, Xavier, who had previously treated

   Carrascal in such a hostile and shabby fashion, as well as assaulted Carrascal, with no

   apparent consequence of any kind, [despite Carrascal’s complaint regarding the same],

   had lodged some sort of Complaint of her own, with American Airlines, to the effect that

   Carrascal was spreading rumors that “Xavier is a man.”

           20.    Nedd also stated that the said Adrienne Joseph-Hawkins, the Manager,

   would be involved in any further investigation of this allegation, and that she was

   backing Xavier in advancing this Complaint. Hearing this, Carrascal told Nedd that

   Carrascal had overheard several of her coworkers who actually were involved in

   discussions about Xavier being a man, but that Carrascal neither started, nor perpetuated

   those statements or discussions, as in Carrascal’s view [which she also told to Nedd], she

   did not want to get into others’ personal business, and doing that type of thing was

   inconsistent with running a professional workplace, and was peoples’ own personal

   business.

           21.    In this same conversation, Carrascal asked Nedd why other employees

   who had been involved in actually discussing such things had not been suspended, or

   disciplined, at all, and the reply she received was “unfortunately, she picked only your

   name,” or words to that effect, but not denying that this had taken place.




                                                7
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 8 of 22 PageID# 93




          22.     Nedd otherwise made no substantive reply to Carrascal’s offer to provide

   these names, falsely saying it was “too late” for Carrascal to describe the employees she

   overheard talking about such things; as such, no alleged witness statements or accounts

   were otherwise provided to Carrascal, and neither Nedd nor Adrienne Joseph-Hawkins

   solicited any information or version of anything, from Carrascal.

          23.     A day or two later, Hayden Nedd called Carrascal in the evening, and

   called Carrascal to DCA in the evening, to read the accusations, and seemed to be doing a

   lot of typing, even though he did not solicit any factual accounts from Carrascal, also

   admonishing Carrascal not to try to record this, with her phone.

          24.     Upon information and belief, a different American Airlines Supervisor,

   Patricia Manning, told Nedd and/or Adrienne Joseph-Hawkins that Carrascal did not start

   and/or perpetuate any rumor or discussion about Xavier “being a man,” and Nedd and

   Adrienne Joseph-Hawkins ignored and/or disregarded this information or fact. Upon

   information and belief, Defendant failed to take any statement from, or otherwise

   arbitrarily disregarded, this apparent account from Manning.

          25.     A few days into this suspension, Carrascal had a conversation with Ms.

   Odra, a black management employee from the Dominican Republic, who functioned in

   the back administrative offices of American at DCA during that period, complaining of

   the unfairness of this suspension, and the lack of investigation and taking account of the

   actual facts, and the immediate rush to suspension of Carrascal, as had occurred.

          26.     By way of background to this conversation, and known to Odra,

   previously, during Carrascal's employment at DCA, a black customer service

   representative named Kadijah, who also worked at the gates, had been suspended by




                                                8
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 9 of 22 PageID# 94




   American, but was permitted by American to return to work after two months, as a result

   of her taking a customer's credit card, and going off into the concourse shops at DCA,

   and charging electronic items, as well as food items, on the customer's credit card,

   causing a big customer complaint and scandal. Upon information and belief, black

   members of management at DCA, including one or more of Turpin, Adrienne Joseph-

   Hawkins and/or Hayden Nedd, made some sort of deal with the said customer, to keep

   the customer from pressing charges, or filing a criminal complaint, after which Kadijah

   was brought back to work after about two months.

          27.     Against this factual history and backdrop, Carrascal complaint to Odra of

   the unfairness of her being immediately suspended with no investigation, whereas a

   person who had stolen from a customer had been brought back, in response to which

   Odra stated: "I know it seems unfair, but she is an African American, and you are not."

          28.     Around of a week after the beginning of Carrascal's suspension, and after

   the latest telephonic interchange with Adrienne Joseph-Hawkins, Carrascal had a

   conversation about her suspension with a different Supervisor at National Airport, Wanna

   Cocker[also a black individual], who confided to Carrascal: “I know Adrienne Joseph-

   Hawkins doesn’t like you; I know she harassed you; you ought to call the American

   Airlines HR/Discrimination hotline about this.”

          29.     At this, Carrascal found a 1-800 number for the American Airlines

   discrimination hotline, and complained about the fact that Manager Adrienne Joseph-

   Hawkins was going out of her way to look for reasons to admonish Carrascal, in front of

   customers, and had seen to her suspension, as well as the dismissive behavior she was

   receiving from Adrienne Joseph-Hawkins, also referencing the “investigation” in which




                                                9
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 10 of 22 PageID# 95




   Adrienne Joseph-Hawkins purported to involve herself, also referencing the fact that

   others had told Carrascal that Manager Adrienne Joseph-Hawkins, who was involved in

   this investigation, did not like Latinos. The person answering the discrimination hotline

   for American stated that someone from HR [human resources] would contact Carrascal in

   follow-up.

          30.     Approximately three days later, a person from American Airlines Human

   Resources, believed to be one Franklin Rivers, contacted Carrascal by telephone, asking

   about Carrascal’s interactions and relations with the Manager, Adrienne Joseph-Hawkins.

   Carrascal told Rivers how rude and dismissive Adrienne Joseph-Hawkins had been to

   Carrascal, and how she had been singled out by Manager Adrienne Joseph-Hawkins, as

   the only one to be suspended for allegedly starting rumors, as well as chided in front of

   customers, and Carrascal taking exception to Adrienne Joseph-Hawkins’s consistent

   disdain for, and mistreatment of Carrascal, asking “What’s wrong? I’m working very

   hard.” Rivers stated that, being new in HR, there was little Rivers could do personally,

   but that Rivers would follow up with personnel at Reagan National (DCA), who might be

   able to do something about this state of affairs.

          31.     On or about August 16, 2019, Carrascal sent to Marvin Turpin an e-mail,

   another black manager at DCA, naming four different co-workers who she had overheard

   making comments about the new employee being a man; Turpin did not reply to this e-

   mail, but called Carrascal later that day, saying he was “returning your call” [Plaintiff had

   not called him, but had sent the referenced e-mail]. Carrascal otherwise received no reply

   from Turpin, as to the content of this e-mail, although Turpin acknowledged receiving the

   names of employees who had been involved in, or knew also about, those discussions,




                                                10
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 11 of 22 PageID# 96




   overheard by Carrascal.

          32.     On August 20, 2019, Carrascal forwarded to Radney Robertson, another

   General Manager, the same e-mail text, previously sent to Turpin, containing the names

   of employees actually involved in discussions about Xavier, and the same information

   Carrascal also forwarded to Franklin Rivers, in Human Resources of American Airlines,

   on August 26, 2019.

          33.     Several days after making the first above-referenced complaint to the

   American Airlines discrimination hotline, the same Supervisor at Reagan National,

   Wanna Cocker, again urged Carrascal to contact the HR Discrimination hotline,

   whereupon Carrascal again did so, and spoke with someone in HR at American, who said

   that the Complaint had been reported to American Airlines personnel at Reagan National

   Airport, and was “under investigation.”

          34.     Upon information and belief, none of Carrascal's non-Latina coworkers

   were subject to any of the things he was subjected to, inclusive of: being berated in front

   of customers, not having one's complaint of mistreatment by a coworker investigated and

   addressed, being disbelieved in investigation, being ignored and mistreated by the

   Manager, and told the employee could not come to the manager's office to discuss things,

   as well as being suspended and irretrievably terminated for alleged misbehaviors on the

   job, and falsely accused of instigating or starting said rumors, and being fired based upon

   the same allegations.

          35.     In fact, during Carrascal's employment with American, she had a good

   work record, and much more proven record of professionalism, reliability and credibility,

   than Xavier had ever developed, over a much longer period of employment of Carrascal




                                               11
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 12 of 22 PageID# 97




   with American Airlines; without practical reason or effect, not just Adrienne Joseph-

   Hawkins, but Turpin and Hayden Nedd, another black manager at DCA, illogically and

   arbitrarily elevated Xavier’s apparent word was placed above that of Carrascal; in

   actuality, Carrascal was a dedicated, if not exemplary, employee, of a much more reliable

   and credible nature, than Xavier, a fact known to each of Nedd, Turpin and Adrienne

   Joseph-Hawkins.

          36.     Carrascal requested to see what witness statements supported the

   proposition that she had made such comments, and had also been the only one who had

   been involved in, or overheard, discussions regarding Xavier allegedly “being a man”;

   Adrienne Joseph-Hawkins, Nedd and Turpin all failed and refused to provide this

   information to Carrascal.

          37.     A few days prior to September 4, 2019, Patricia Manning, a Union

   representative, and Wanna Cocker, a Supervisor, called Carrascal to set up a conference

   call for a meeting with Marvin Turpin, the Second Level Manager, and Hayden Nedd, the

   Customer Service manager. In this call, Wanna Cocker told Carrascal: “Plead guilty”

   and “Apologize, and it will be easy to resolve the issue and for Marvin to bring you

   back.” Cocker stated that the idea for this came from Marvin. In reply, Carrascal told

   Manning and Cocker her answer was no: “I never, ever said that Valeria was a man; I am

   innocent.” In reply, both Manning and Cocker said “we know you didn’t.” After Marvin

   Turpin and Hayden Nedd joined the meeting, Marvin asked Wanna if she had spoken

   with Carrascal about “pleading guilty,” to which Wanna replied to Marvin: “No, she

   doesn’t want to.” At this point, Carrascal also stated that she had in fact refused because

   she did not do what she was accused of, and had also provided the names of people she




                                               12
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 13 of 22 PageID# 98




   had overheard talking about that subject, adding: “all of these people are supposed to be

   suspended, not me; I am innocent of saying Xavier is a man.” In reply, Marvin stated:

   “unfortunately, she [Xavier] picked your name only; sorry, Martha.” Marvin added:

   "Martha, if you do not blame yourself, I have to support Adrienne and Hayden [both

   fellow black management officials]", with no further explanation or elaboration as to

   why, much less on what basis.

          38.     On or about September 3 and 4, 2019, Carrascal had one or more

   conversations with one or more co-workers, at DCA, who told Carrascal that Xavier had

   been going around the workplace on September 3 and 4, 2019, telling coworkers that

   Carrascal had been fired.

          39.     On September 4, 2019, a little before 10:00 a.m., Cindy Thayer, of the

   union, called Carrascal on the phone, and said “Hi Martha; I just talked to Marvin Turpin.

   He doesn’t want to fire you, to be ready, maybe in a couple days, you will return to

   work.” Carrascal replied: “Thank you, Cindy, but this is wrong information” Cindy

   stated “Why? I just talked to Marvin.” In reply, Carrascal explained that she had been

   getting calls from co-workers both yesterday and today, stating that Xavier was going

   around saying Carrascal had been fired. Cindy closed the conversation with: “I will call

   you back.”

          40.     Later that same day, September 4, 2019, Carrascal was called into a 5:30

   p.m. meeting at the airport, to meet with Hayden Nedd, the head of American’s

   operations at DCA. Prior to going to the meeting, Carrascal phoned Cindy Thayer, the

   union representative, to seek representation and/or let her know this was happening, and

   this time around Cindy stated: “Don’t worry,” and to just go to this meeting to “process




                                               13
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 14 of 22 PageID# 99




   regular papers.”

          41.     The meeting was from 5:30 p.m. to 9:45 p.m., and after a lot of the same

   questions and denials regarding people discussing Xavier being a man, and Nedd falsely

   asserting to Carrascal that she had never provided names of other employees who had

   allegedly been involved in said behaviors, and more false accusations of Carrascal, and

   infamy in general, Carrascal received a termination letter.

          42.     Later that night, Carrascal called Cindy Thayer back, and related what

   happened, and she said “Sorry, Martha; I was told different, sorry.”

          43.     Upon information and belief, on or about September 3, 2019, in the

   afternoon, and unbeknownst to Carrascal at the time of the September 4, 2019 meeting,

   Xavier had already been going around telling coworkers at DCA: “I am the winner; she

   [referring to Carrascal] is going to be fired.”

          44.     Carrascal neither initiated, nor perpetuated, any rumors about the

   biological sex, or gender, or gender identification, of the new employee, and other

   coworkers of hers, each not of of Hispanic or Latina background, discussed this subject,

   and as to each, this fact was made known to American; however, none was similarly

   disciplined, much less discharged, as Carrascal was.

          45.     In singling out plaintiff for this accusation of coworker harassment, in the

   form of spreading or perpetuating rumors, Xavier, and in turn American, not only

   arbitrarily elevated the word Xavier over that of Carrascal, but also incorrectly relied

   upon stereotypical notions harbored by Xavier and others, in only complaining about

   Carrascal [about comments that involved several different others, not Hispanic], and

   American Airlines, in apparently not investigating or disciplining such behaviors as to




                                                 14
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 15 of 22 PageID# 100




    others, that Carrascal must somehow be solely responsible for such comments [even

    though they had been told, and knew otherwise] because racially Hispanic or Latina

    people, including Carrascal, are stereotypically assumed to be somehow all Catholics, or

    uncivilized “indios” with an anachronistic, barbaric, crude, and rigid and traditional in

    their thoughts and views regarding gender, gender roles, as the same relate to issues of

    biological sex. In short, Carrascal was made a “scapegoat” of Xavier’s apparent

    complaint, as a direct result of Carrascal’s race.

           46.     At all relevant times referenced herein, all agents and employees of

    defendant were acting within the scope of said agent/s' actual and/or apparent authority

    on behalf of the defendant.

           47.     Upon information and belief, Carrascal’s functions formerly performed for

    American Airlines, at Reagan National, were replaced by persons not of Latina and/or

    Hispanic racial and ethnic descent, in whole or in part.

           48.     The alleged insufficient or impermissible work conduct in which Carrascal

    was alleged by defendant to have engaged in, and/or allegedly having been complained

    of, was either non-existent, or at the least, even if disingenuously and arbitrarily

    purported to be "believed" by management personnel, including Nedd, Turpin and

    Adrienne Joseph-Hawkins, was lesser in seriousness and gravity, to complaints and/or

    allegations of the same, or even dissimilar types of on-the-job misconduct, made as to

    non-Latina, non-Hispanic employees, of defendant, who received no disciplinary action

    whatsoever, lesser disciplinary action, and were not terminated.

           49.     Upon information and belief, the disciplinary measures and/or criticisms

    and/or work treatment, if any, enforced against Carrascal's non-Latina, non-Hispanic co-




                                                  15
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 16 of 22 PageID# 101




    workers, if any at all, for the same or similar alleged behaviors, all made known to

    management, was either non-existent, and non-addressed, or if addressed, progressive in

    nature, and/or was much less severe than those enforced against Carrascal.

           50.     By way of comparison also to the Kadijah/credit card incident, a different

    Hispanic employee of American, Paul, who also worked under Nedd and Turpin, also

    suffered a termination, also involving alleged larceny, or petit larceny facts. According

    to said employee, he had found a cell phone somewhere on his way to the workstation,

    and had placed the cell phone in his locker, to later take to the lost and found, as he was

    at risk of being late at the gate, for his work. When an apparent American pilot learned

    that his cell phone was missing, the pilot apparently threw an angry fit, and refused to fly

    the plane until his cell phone was found. Subsequently, American officials assisted the

    pilot using technical means to find the phone [same or similar as "find my iPhone"], at

    which point security for the airport guided the pilot to Paul's locker, after which he was

    immediately terminated, despite his apparent explanation for this state of affairs. Upon

    information and belief, Paul was immediately terminated with no further investigation,

    and not brought back to work.

           51.     In a different work incident, this one involving a Caucasian American

    Airlines employee at DCA, Mary Beth, also a customer service representative working

    the gates, was furnished a set AirPods found at the gates, by an American supervisor,

    who apparently thought the said AirPods belonged to her; rather than state they were not

    hers, and return them, said Mary Beth accepted the AirPods, and took them home,

    whereupon the customer who had lost them electronically tracked the AirPods to Mary

    Beth's house, and reported the incident to American Airlines, after which said Mary Beth




                                                 16
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 17 of 22 PageID# 102




    disappeared for five months [appearing to have been suspended], and was eventually

    brought back to work by management. If Mary Beth had been Hispanic, as Carrascal is,

    she would not have been permitted by American to return to work, at all, and her

    separation from the workplace would have been permanent.

           52.     American’s decision not to take any action pursuant to, and as a result of,

    Carrascal’s earlier complaint of demeaning behavior, and assault, by Xavier, was and is

    because Carrascal is Hispanic, and the truth or falsity of what Carrascal says, and said,

    did not and does not matter to the likes of Hayden Need, Marvin Turpin, and Adrienne

    Joseph-Hawkins, amongst others working for American Airlines as DCA, who elevate an

    employee's racial status, over a given employee's words, deeds, and performance.

    Xavier’s misdeeds, as alleged by Carrascal, and in actuality, were of a much more serious

    nature, involved intentionally demeaning language, as well as aggressive initiation of

    physical contact [assault and battery] at Carrascal, and were of intentional, and

    intemperate nature; yet not being Hispanic, and being African American, Xavier, as well

    as other non-Hispanics in the chain of command of Hayden Nedd, Marvin Turpin and/or

    Adrienne Joseph-Hawkins, remained in the employ of defendant, and were given a “pass”

    by said American management personnel, whereas Carrascal was suspended and

    terminated.

           53.     Defendant purported to pin or accuse Carrascal of “starting the rumor”

    about Xavier “being a man” as a direct result of Carrascal’s race, and blamed alleged

    work problems or issues of unknown origin, and also imposed requirements and

    disciplinary standards upon Carrascal, not imposed upon similarly situated, non-Latina

    employees, and otherwise singled Carrascal out for disparate discipline, based not only




                                                17
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 18 of 22 PageID# 103




    on stereotypical notions of Latina persons, but also in a predatory fashion, due to the

    [relatively speaking] demure and quiet nature of these Hispanic employees, and also

    upon alleged behaviors or errors which were not only untrue [in Carrascal's situation] but

    which, even if purportedly believed to be true, were much less serious in nature than

    those tolerated by the defendant, as to non-Hispanic coworkers of Carrascal.

           54.     As a direct and proximate result of the Defendants' unlawful actions and

    termination described above and below, your plaintiff has suffered loss underpayment of

    wages, and lost wages, in the approximate aggregate amount, to date, of approximately

    $148,000, and other economic damages consequential to the loss of income, including

    reduction in standard of living, loss of savings, interest and/or debt-related costs, and loss

    of the apartment Carrascal had been renting before these events, and these damages are

    continuing in nature.

           55.     As a direct and proximate result of Defendants' unlawful actions and

    termination described above and below, your plaintiff has also suffered a loss of the

    reasonable value of health insurance benefits, and a loss of the reasonable value of travel

    pass privileges accorded to employees and retirees of American Airlines.

           56.     As a direct and proximate result of defendant’s unlawful actions

    described above and below, plaintiff has also suffered lack of sleep, loss of health,

    inability to concentrate, and has otherwise sustained emotional pain and suffering, as

    well as worry, mental anguish, embarrassment, and guilt associated with said separation,

    attorney's fees, and resultant financial and personal hardships, as well as expenses in

    attempt to find work, and continues to suffer these in amounts continuing to accrue, in an

    amount to be more particularly stated at trial.




                                                 18
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 19 of 22 PageID# 104




           57.     The defendant's acts and practices described herein were intentional and

    were performed with malice and/or reckless indifference to the Plaintiff’s federally

    protected civil rights within the meaning of § 102(b) of the Civil Rights Restoration Act

    of 1991.

           58.     The above-referenced acts and omissions of defendant's supervisory

    personnel, as to your plaintiff, were and are violative of 42 U.S.C. § 1981(a), which

    prohibits discrimination in the making, enforcement, performance, and termination of, as

    well as the enjoyment of all benefits, terms and conditions of, a contractual relationship.

           59.     By their acts and omissions referenced above, Defendant intentionally

    deprived Carrascal of equal employment opportunities, suspended her, and terminated her

    employment, and otherwise adversely affected her contract status as an employee, in

    violation of 42 U.S.C. § 1981, proximally causing the economic and non-economic

    damages referenced above.

           60.     Were it not for Carrascal's race, Hispanic, and attendant treatment from

    the above-referenced members of Defendant's management, Carrascal would continue to

    be employed by American, at DCA, to this day.

           61.     On July 16, 2021, Carrascal timely filed her initial Complaint, containing

    the claim pleaded herein, in the Circuit Court of Arlington County, Virginia, and after

    timely service of the same, Defendant American removed the said matter, and Complaint,

    to this Court, and this Amended Complaint arises out of the same, and/or similar,

    transactional and other facts, as are alleged and pleaded in Plaintiff's said original

    Complaint.




                                                  19
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 20 of 22 PageID# 105




                                         Prayer for Relief

           WHEREFORE, your plaintiff prays that this Court enter a judgment against the

    defendant, containing the following elements of relief:

           (a)     an appropriate prohibitory injunction restraining the defendant from

    continuing to employ procedures and methods of administration and personnel

    management, as are unlawful as alleged herein, as to your plaintiff and any others

    similarly situated, which deprive, or have the effect of depriving, persons of Latin

    American racial and ethnic descent, of their protected rights to equal terms of contracting,

    and/or procedures and treatment attendant to cessation and/or termination of such

    contacts, under 42 U.S.C. § 1981, as amended; and

           (b)     award of a money judgment for Martha Carrascal against defendant, in a

    sum of money equal to the monetary value of all wages and benefits of employment lost,

    both past and future, on account of her mistreatment by, and wrongful discharge from,

    defendants, less any interim earnings or amounts which could be earned, or were earned,

    in suitable employment, with reasonable diligence, in mitigation of said damages, said

    overall amount to be subject to proof at trial, in an estimated overall amount of two

    hundred thousand dollars ($200,000.00)(together with pre and post-judgment interest

    thereon at the Virginia legal rate of 6% per annum); and

           (c)     award of a money judgment against defendants, representing any and all

    actual monetary losses, including, sustained by the plaintiff, and recoverable economic

    losses incurred, directly or indirectly, and consequential to defendant’s above-referenced

    unlawful discrimination against, and termination of, the plaintiff; and

           (d)     award to Plaintiff of a money judgment against defendant, on account of




                                                20
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 21 of 22 PageID# 106




    compensatory damages, pain, suffering and mental anguish proximally caused by

    defendant's' actions described above, in the amount of FIVE HUNDRED THOUSAND

    DOLLARS ($500,000.00); and

            (e)     awarding against the Defendant, punitive and exemplary damages, as

    impelled by the factual circumstance; and

            (f) awarding, pursuant to 42 U.S.C. §§ 1981 and 1988(b), plaintiff’s reasonable

    attorney fees, expert witness fees and costs, and other litigation-related costs incurred in

    prosecution hereof; and

            (g) awarding such other and further relief as is appropriate to the premises of law,

    equity and the facts of this case.

                                            Jury Demand

            Your plaintiff hereby demands trial by jury as to all claims above for which a jury

    trial is available at law.

                                                    Respectfully submitted,

                                                    MARTHA CARRASCAL


                                              By:          /s/ Christopher R. Rau
                                                    Christopher R. Rau (VSB No. 34135)
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                                                    Counsel for Plaintiff Martha Carrascal


    Dated: September 25, 2022

                                  CERTIFICATE OF SERVICE

            I hereby certify that on this 25th day of September, 2022, I filed the foregoing



                                                 21
Case 1:22-cv-00825-LMB-JFA Document 15 Filed 09/25/22 Page 22 of 22 PageID# 107




    Amended Compliant, with the Clerk of Court, using the CM/ECF system, which will

    generate a Notice of Electronic filing (NEF), and forward the same, together with a copy

    hereof, to the following:


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                                               22
